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                                                             11/14/2018
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20                     CENTRAL DISTRICT OF CALIFORNIA
21
22    FEDERAL TRADE COMMISSION,                 FILED UNDER SEAL
23
                             Plaintiff,         Case No. CV 18-9573-JFW(JPRx)
24                v.
25                                              COMPLAINT FOR
      APEX CAPITAL GROUP, LLC, a                PERMANENT INJUNCTION
26    Wyoming limited liability company,        AND OTHER EQUITABLE
27                                              RELIEF
      CAPSTONE CAPITAL SOLUTIONS
28

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 1    LIMITED, a United Kingdom limited
      company,
 2
 3    CLIK TRIX LIMITED, a United
      Kingdom limited company,
 4
 5    EMPIRE PARTNERS LIMITED, a
      United Kingdom limited company,
 6
 7    INTERZOOM CAPITAL LIMITED, a
 8    United Kingdom limited company,
 9    LEAD BLAST LIMITED, a United
10    Kingdom limited company,
11
      MOUNTAIN VENTURE SOLUTIONS
12    LIMITED, a United Kingdom limited
      company,
13
14    NUTRA GLOBAL LIMITED, a United
15    Kingdom limited company,
16    OMNI GROUP LIMITED, a United
17    Kingdom limited company,
18
      RENDEZVOUS IT LIMITED, a United
19    Kingdom limited company,
20
      SKY BLUE MEDIA LIMITED, a United
21    Kingdom limited company,
22
      TACTIC SOLUTIONS LIMITED, a
23    United Kingdom limited company,
24
      PHILLIP PEIKOS, individually, and as an
25
      officer of APEX CAPITAL GROUP, LLC,
26
                              and
27
28

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 1    DAVID BARNETT, individually, and as
      an officer of APEX CAPITAL GROUP,
 2    LLC,
 3
                                 Defendants.
 4
 5         Plaintiff, the Federal Trade Commission (“FTC”), for its Complaint alleges:
 6         1.     The FTC brings this action under Sections 13(b) and 19 of the Federal
 7   Trade Commission Act (“FTC Act”), 15 U.S.C. §§ 53(b) and 57b, Section 5 of the
 8   Restore Online Shoppers’ Confidence Act (“ROSCA”), 15 U.S.C. § 8404, and
 9   Section 918(c) of the Electronic Fund Transfer Act (“EFTA”), 15 U.S.C.
10   § 1693o(c), to obtain temporary, preliminary, and permanent injunctive relief,
11   rescission or reformation of contracts, restitution, the refund of monies paid,
12   disgorgement of ill-gotten monies, and other equitable relief for Defendants’ acts
13   or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), Section
14   4 of ROSCA, 15 U.S.C. § 8403, Section 907(a) of EFTA, 15 U.S.C. § 1693e(a),
15   and Section 1005.10(b) of Regulation E, 12 C.F.R. § 1005.10(b).
16                             JURISDICTION AND VENUE
17         2.     This Court has subject matter jurisdiction pursuant to 28 U.S.C.
18   §§ 1331, 1337(a) and 1345, 15 U.S.C. §§ 45(a), 53(b), and 57b; and Section 5(a) of
19   ROSCA, 15 U.S.C. § 8404(a).
20         3.     Venue is proper in this district under 28 U.S.C. §§ 1391(b)(1), (b)(2),
21   (c)(1), and (c)(3), and 15 U.S.C. §§ 53(b) and 57b.
22                              SUMMARY OF THE CASE
23         4.     Since early 2014, Defendants have operated an online subscription
24   scam, marketing and selling over the Internet more than 50 different products,
25   mainly personal care products and dietary supplements that allegedly promote
26   weight loss, hair growth, clear skin, muscle development, sexual performance, and
27   cognitive abilities. Defendants claim to offer “free” trials of these products for just
28   the cost of shipping and handling, typically $4.95. In fact, Defendants charge
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 1   consumers’ credit and debit cards the full price of the products – approximately
 2   $90 – approximately two weeks after consumers order the trials. Defendants also
 3   enroll consumers, without their knowledge or consent, in continuity programs,
 4   shipping them additional supplies of the products and charging them about $90 on
 5   a monthly basis. Defendants frequently also charge consumers for supposedly
 6   complementary products and enroll consumers in continuity programs related to
 7   these secondary products, without consumers’ knowledge or consent. Defendants
 8   have taken tens of millions of dollars from consumers through this deceptive
 9   conduct.
10         5.     To further this scheme, Defendants have used dozens of shell
11   companies and straw owners (referred to as “nominees” or “signors”) to obtain
12   merchant accounts needed to accept consumers’ credit and debit card payments.
13   This practice of processing credit card transactions through other companies’
14   merchant accounts is known as “credit card laundering,” and it is an unlawful
15   practice used by fraudulent merchants to circumvent credit card associations’
16   monitoring programs and avoid detection by consumers and law enforcement.
17                                       PLAINTIFF
18         6.     The FTC is an independent agency of the United States Government
19   created by statute. 15 U.S.C. §§ 41-58. The FTC enforces Section 5(a) of the FTC
20   Act, 15 U.S.C. § 45(a), which prohibits unfair or deceptive acts or practices in or
21   affecting commerce. The FTC also enforces ROSCA, 15 U.S.C. §§ 8401-8405,
22   which prohibits merchants from selling goods or services on the Internet through
23   negative option marketing without meeting certain requirements to protect
24   consumers. A negative option is an offer in which the seller treats a consumer’s
25   silence as consent to be charged for goods or services. Additionally, the FTC
26   enforces the EFTA, 15 U.S.C. § 1693 et seq., which regulates the rights, liabilities,
27   and responsibilities of participants in electronic fund transfer systems.
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 1         7.     The FTC is authorized to initiate federal district court proceedings by
 2   its own attorneys, to enjoin violations of the FTC Act, ROSCA, and the EFTA, and
 3   to secure such equitable relief as may be appropriate in each case, including
 4   rescission or reformation of contracts, restitution, the refund of monies paid, and
 5   the disgorgement of ill-gotten monies. 15 U.S.C. §§ 53(b), 56(a)(2)(B), 57b, 8404,
 6   and 1693o(c).
 7                                      DEFENDANTS
 8         8.     Defendant Apex Capital Group, LLC (“Apex Capital Group”) is a
 9   Wyoming limited liability company which has had business addresses at 31280
10   Oak Crest Drive, Suite 5, Westlake Village, California 91361; 690 S Highway 89,
11   Suite 200, Jackson, Wyoming 83001; 8306 Wilshire Boulevard No. 1669, Beverly
12   Hills, CA 90211; and 21300 Victory Boulevard, Ste. 740, Woodland Hills, CA
13   91367. At all times material to this Complaint, acting alone or in concert with
14   others, Apex Capital Group has advertised, marketed, distributed, or sold products
15   to consumers throughout the United States. Apex Capital Group transacts or has
16   transacted business in this district and throughout the United States.
17         9.     Omni Group Limited is a United Kingdom limited company. In its
18   corporate filings, it initially provided as an office address the address of a
19   residential property located in Bedford, United Kingdom, and later changed its
20   address to that of a virtual office in London, United Kingdom. Dozens of other
21   limited companies within the control of Apex Capital Group, Phillip Peikos, and
22   David Barnett, including all of the companies listed in Paragraphs 10-19, provided
23   one or both of the same addresses in their corporate filings. When Omni Group
24   Limited was incorporated on July 28, 2015, its proposed directors and shareholders
25   were Phillip Peikos and David Barnett. David Barnett transferred his shares to
26   Phillip Peikos in late 2017, and Peikos is now the sole shareholder of Omni Group
27   Limited. Omni Group Limited is or has been the sole or controlling shareholder of
28   at least twenty limited entities, including the companies listed in Paragraphs 10-

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 1   19. Many of these companies sold products to U.S. consumers and distributed the
 2   sales proceeds to Apex Capital Group, Phillip Peikos, and David Barnett. Omni
 3   Group Limited has also transferred millions of dollars from its own bank account
 4   to Apex Capital Group.
 5          10.    Capstone Capital Solutions Limited is a United Kingdom limited
 6   company. In its corporate filings, it initially provided as an office address the
 7   address of a residential property located in Bedford, United Kingdom, and later
 8   changed its address to that of a virtual office in London, United Kingdom. Its
 9   director, as listed in its corporate filings, is a U.S. resident. Its sole shareholder is
10   Omni Group Limited, which is owned by Phillip Peikos, who resides in the United
11   States. At times material to this Complaint, Apex Capital Group, Phillip Peikos,
12   and David Barnett have used Capstone Capital Solutions Limited to sell products
13   to U.S.-based consumers, to debit U.S. consumers’ credit cards and financial
14   accounts, to open merchant accounts through which these charges are processed,
15   and to distribute the sales proceeds to Apex Capital Group, Phillip Peikos, and
16   David Barnett. At least nine merchant accounts have been established at a Latvian
17   bank in the name of Capstone Capital Solutions Limited to process payments for
18   online sales of products to consumers in the United States.
19          11.    Clik Trix Limited is a United Kingdom limited company. In its
20   corporate filings, it initially provided as an office address the address of a
21   residential property located in Bedford, United Kingdom, and later changed its
22   address to that of a different residential property located in London, United
23   Kingdom. Its controlling shareholder is Omni Group Limited, which is owned by
24   Phillip Peikos, who resides in the United States. At times material to this
25   Complaint, Apex Capital Group, Phillip Peikos, and David Barnett have used Clik
26   Trix Limited to sell products to U.S.-based consumers, to debit U.S. consumers’
27   credit cards and financial accounts, to open merchant accounts through which these
28   charges are processed, and to distribute the sales proceeds to Apex Capital Group,

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 1   Phillip Peikos, and David Barnett. At least one merchant account has been
 2   established at a Latvian bank in the name of Clik Trix Limited to process payments
 3   for online sales of products to consumers in the United States.
 4         12.    Empire Partners Limited is a United Kingdom limited company. In
 5   its corporate filings, it initially provided as an office address the address of a
 6   residential property located in Bedford, United Kingdom, and later changed its
 7   address to that of a different residential property located in London, United
 8   Kingdom. Its director, as listed in its corporate filings, is a U.S. resident. Its
 9   controlling shareholder is Omni Group Limited, which is owned by Phillip Peikos,
10   who resides in the United States. At times material to this Complaint, Apex
11   Capital Group, Phillip Peikos, and David Barnett have used Empire Partners
12   Limited to sell products to U.S.-based consumers, to debit U.S. consumers’ credit
13   cards and financial accounts, to open merchant accounts through which these
14   charges are processed, and to distribute the sales proceeds to Apex Capital Group,
15   Phillip Peikos, and David Barnett. At least seven merchant accounts have been
16   established at a Latvian bank in the name of Empire Partners Limited to process
17   payments for online sales of products to consumers in the United States.
18         13.    Interzoom Capital Limited is a United Kingdom limited company.
19   In its corporate filings, it initially provided as an office address the address of a
20   residential property located in Bedford, United Kingdom, and later changed its
21   address to that of a different residential property located in London, United
22   Kingdom. Its director, as listed in its corporate filings, is a U.S. resident. Its
23   controlling shareholder is Omni Group Limited, which is owned by Phillip Peikos,
24   who resides in the United States. At times material to this Complaint, Apex
25   Capital Group, Phillip Peikos, and David Barnett have used Interzoom Capital
26   Solutions Limited to sell products to U.S.-based consumers, to debit U.S.
27   consumers’ credit cards and financial accounts, to open merchant accounts through
28   which these charges are processed, and to distribute the sales proceeds to Apex

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 1   Capital Group, Phillip Peikos, and David Barnett. At least six merchant accounts
 2   have been established at a Latvian bank in the name of Interzoom Capital Limited
 3   to process payments for online sales of products to consumers in the United States.
 4          14.    Lead Blast Limited is a United Kingdom limited company. In its
 5   corporate filings, it initially provided as an office address the address of a
 6   residential property located in Bedford, United Kingdom, and later changed its
 7   address to that of a virtual office in London, United Kingdom. Its director, as
 8   listed in its corporate filings, is a U.S. resident. Its sole shareholder is Omni Group
 9   Limited, which is owned by Phillip Peikos, who resides in the United States. At
10   times material to this Complaint, Apex Capital Group, Phillip Peikos, and David
11   Barnett have used Lead Blast Limited to sell products to U.S.-based consumers, to
12   debit U.S. consumers’ credit cards and financial accounts, to open merchant
13   accounts through which these charges are processed, and to distribute the sales
14   proceeds to Apex Capital Group, Phillip Peikos, and David Barnett. At least one
15   merchant account has been established at a Latvian bank in the name of Lead Blast
16   Limited to process payments for online sales of products to consumers in the
17   United States.
18          15.    Mountain Venture Solutions Limited is a United Kingdom limited
19   company. In its corporate filings, it initially provided as an office address the
20   address of a residential property located in Bedford, United Kingdom, and later
21   changed its address to that of a virtual office in London, United Kingdom. Its
22   director, as listed in its corporate filings, is a U.S. resident. Its sole shareholder is
23   Omni Group Limited, which is owned by Phillip Peikos, who resides in the United
24   States. At times material to this Complaint, Apex Capital Group, Phillip Peikos,
25   and David Barnett have used Mountain Venture Solutions Limited to sell products
26   to U.S.-based consumers, to debit U.S. consumers’ credit cards and financial
27   accounts, to open merchant accounts through which these charges are processed,
28   and to distribute the sales proceeds to Apex Capital Group, Phillip Peikos, and

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 1   David Barnett. At least eight merchant accounts have been established at a Latvian
 2   bank in the name of Mountain Venture Solutions Limited to process payments for
 3   online sales of products to consumers in the United States.
 4         16.    Nutra Global Limited is a United Kingdom limited company. In its
 5   corporate filings, it initially provided as an office address the address of a
 6   residential property located in Bedford, United Kingdom, and later changed its
 7   address to that of a virtual office in London, United Kingdom. Its director, as
 8   listed in its corporate filings, is a U.S. resident. Its sole shareholder is Omni Group
 9   Limited, which is owned by Phillip Peikos, who resides in the United States. At
10   times material to this Complaint, Apex Capital Group, Phillip Peikos, and David
11   Barnett have used Nutra Global Limited to sell products to U.S.-based consumers,
12   to debit U.S. consumers’ credit cards and financial accounts, to open merchant
13   accounts through which these charges are processed, and to distribute the sales
14   proceeds to Apex Capital Group, Phillip Peikos, and David Barnett. At least one
15   merchant account has been established at a Latvian bank in the name of Nutra
16   Global Limited to process payments for online sales of products to consumers in
17   the United States.
18         17.    Rendezvous IT Limited is a United Kingdom limited company. In
19   its corporate filings, it initially provided as an office address the address of a
20   residential property located in Bedford, United Kingdom, and later changed its
21   address to that of a virtual office in London, United Kingdom. Its sole shareholder
22   is Omni Group Limited, which is owned by Phillip Peikos, who resides in the
23   United States. At times material to this Complaint, Apex Capital Group, Phillip
24   Peikos, and David Barnett have used Rendezvous IT Limited to sell products to
25   U.S.-based consumers, to debit U.S. consumers’ credit cards and financial
26   accounts, to open merchant accounts through which these charges are processed,
27   and to distribute the sales proceeds to Apex Capital Group, Phillip Peikos, and
28   David Barnett. At least one merchant account has been established at a Latvian

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 1    bank in the name of Rendezvous IT Limited to process payments for online sales
 2    of products to consumers in the United States.
 3          18.    Sky Blue Media Limited is a United Kingdom limited company. In
 4    its corporate filings, it initially provided as an office address the address of a
 5    residential property located in Bedford, United Kingdom, and later changed its
 6    address to that of a different residential property located in London, United
 7    Kingdom. Its controlling shareholder is Omni Group Limited, which is owned by
 8    Phillip Peikos who resides in the United States. At times material to this
 9    Complaint, Apex Capital Group, Phillip Peikos, and David Barnett have used Sky
10    Blue Media Limited to sell products to U.S.-based consumers, to debit U.S.
11    consumers’ credit cards and financial accounts, to open merchant accounts through
12    which these charges are processed, and to distribute the sales proceeds to Apex
13    Capital Group, Phillip Peikos, and David Barnett. At least eight merchant accounts
14    have been established at a Latvian bank in the name of Sky Blue Media Limited to
15    process payments for online sales of products to consumers in the United States.
16          19.    Tactic Solutions Limited is a United Kingdom limited company. In
17    its corporate filings, it initially provided as an office address the address of a
18    residential property located in Bedford, United Kingdom, and later changed its
19    address to that of a different residential property located in London, United
20    Kingdom. Its director, as listed in its corporate filings, is a U.S. resident. Its
21    controlling shareholder is Omni Group Limited, which is owned by Phillip Peikos,
22    who resides in the United States. At times material to this Complaint, Apex
23    Capital Group, Phillip Peikos, and David Barnett have used Tactic Solutions
24    Limited to sell products to U.S.-based consumers, to debit U.S. consumers’ credit
25    cards and financial accounts, to open merchant accounts through which these
26    charges are processed, and to distribute the sales proceeds to Apex Capital Group,
27    Phillip Peikos, and David Barnett. At least eight merchant accounts have been
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 1    established at a Latvian bank in the name of Tactic Solutions Limited to process
 2    payments for online sales of products to consumers in the United States.
 3          20.    Capstone Capital Solutions Limited, Clik Trix Limited, Lead Blast
 4    Limited, Empire Partners Limited, Interzoom Capital Limited, Mountain Venture
 5    Solutions Limited, Nutra Global Limited, Rendezvous IT Limited, Sky Blue Media
 6    Limited, and Tactic Solutions Limited, are collectively referred to herein as the
 7    “UK Corporate Defendants.”
 8          21.    Defendant Phillip Peikos (“Peikos”) resides in Westlake Village,
 9    California. He is the Chief Executive Officer and co-owner of Apex Capital
10    Group and the sole shareholder and director of Omni Group Limited, which is the
11    sole or controlling shareholder of all of the UK Corporate Defendants. At all times
12    material to this Complaint, acting alone or in concert with others, he has
13    formulated, directed, controlled, had the authority to control, or participated in the
14    acts and practices of Apex Capital Group, Omni Group Limited, and the UK
15    Corporate Defendants, including the acts and practices set forth in this Complaint.
16    Defendant Peikos resides in this district and, in connection with the matters alleged
17    herein, transacts or has transacted business in this district and throughout the
18    United States.
19          22.    Defendant David Barnett (“Barnett”) is a California resident. He
20    was the Chief Operating Officer of Apex Capital Group. He was a co-owner of
21    Apex Capital Group until at least late 2017. He was also an owner and director of
22    Omni Group Limited until November 2017, when he transferred his shares to
23    Peikos. At times material to this Complaint, acting alone or in concert with others,
24    he formulated, directed, controlled, had the authority to control, or participated in
25    the acts and practices of Apex Capital Group, Omni Group Limited, and the UK
26    Corporate Defendants, including the acts and practices set forth in this Complaint.
27    Defendant Barnett resides in California and, in connection with the matters alleged
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 1    herein, transacts or has transacted business in this district and throughout the
 2    United States.
 3          23.    Peikos and Barnett are collectively referred to herein as the
 4    “Individual Defendants.”
 5                                COMMON ENTERPRISE
 6          24.    Defendant Apex Capital Group, Omni Group Limited, and the UK
 7    Corporate Defendants have operated as a common enterprise while engaging in the
 8    deceptive and unfair acts and practices, and other violations of law, alleged below.
 9    They have conducted the business practices described below through an
10    interrelated, international network of dozens of shell companies that have common
11    ownership, officers, managers, business functions and practices, and office
12    locations (together, the “Apex Operation”). The companies regularly transfer
13    funds among their corporate bank accounts, ultimately funneling money into a
14    single, centralized account at Citibank, N.A. (the “Apex Citi Account”), from
15    which the Apex Operation’s expenses are withdrawn and funds distributed to the
16    Individual Defendants.
17          25.    Because Apex Capital Group, Omni Group Limited, and the UK
18    Corporate Defendants operate with the other entities in the Apex Operation as a
19    common enterprise, each of them is jointly and severally liable for the acts and
20    practices alleged below.
21          26.    The Individual Defendants are or have been owners, officers,
22    organizers, and/or beneficiaries of Apex Capital Group, Omni Group Limited, and
23    the UK Corporate Defendants.
24          27.    The Individual Defendants have formulated, directed, controlled, had
25    the authority to control, or participated in the acts and practices of Apex Capital
26    Group, Omni Group Limited, and the UK Corporate Defendants that constitute the
27    common enterprise.
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 1                                       ALTER EGO
 2          28.    As stated in Paragraphs 8-19 and 21-22, there is such a unity of
 3    interest between Omni Group Limited and the UK Corporate Defendants, and
 4    Apex Capital Group, Peikos, and Barnett, that Omni Group Limited and the UK
 5    Corporate Defendants are alter egos of Apex Capital Group, Peikos, and Barnett.
 6    Omni Group Limited and the UK Corporate Defendants are or have been
 7    dominated and controlled by Peikos and Barnett, and were created to facilitate the
 8    Apex Capital Group enterprise.
 9          29.    Failure to disregard Omni Group Limited and the UK Corporate
10    Defendants’ corporate forms would sanction a deception or injustice by shielding
11    and safeguarding them from liability for their role in a scheme that has caused tens
12    of millions of dollars in consumer injury. Omni Group Limited and the UK
13    Corporate Defendants would be unjustly enriched if permitted to keep money
14    obtained from consumers through deception and through their participation in the
15    Apex Capital Group enterprise.
16          30.    This Court has personal jurisdiction over Omni Group Limited and the
17    UK Corporate Defendants because they are alter egos of Apex Capital Group,
18    Peikos, and Barnett, individually and/or collectively.
19                                      COMMERCE
20          31.    At all times material to this Complaint, Defendants have maintained a
21    substantial course of trade in or affecting commerce, as “commerce” is defined in
22    Section 4 of the FTC Act, 15 U.S.C. § 44.
23                       DEFENDANTS’ BUSINESS ACTIVITIES
24    I.    The Apex Operation’s Subscription Scam
25          A.     The Corporate Network
26          32.    Through the Apex Operation, Defendants have marketed and sold
27    more than 50 different products, most of which allegedly promote weight loss, hair
28    growth, clear skin, muscle development, sexual performance, and cognitive

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 1    abilities. The Apex Operation began in early 2014, when the Individual
 2    Defendants used Apex Capital Group, the main operating company, and other
 3    entities to receive payments from consumers for these products. Consumer funds
 4    are funneled through other entities’ bank accounts into the Apex Citi Account,
 5    Apex Capital Group’s main bank account. The Individual Defendants have been
 6    co-signatories on the Apex Citi Account, from which they have received millions
 7    of dollars.
 8          33.     The Individual Defendants formed, or caused to be formed, at least 32
 9    limited liability companies in Wyoming between August 2013 and March 2016
10    (the “Wyoming Companies”) to obtain merchant accounts in the United States that
11    would allow them to debit consumers’ credit cards and financial accounts. The
12    Wyoming Companies do not conduct any business and have had no employees.
13    They are listed in Exhibit A to this Complaint.
14          34.     In order to obtain merchant accounts in the name of the Wyoming
15    Companies, the Individual Defendants caused merchant account applications to be
16    submitted to payment processing entities that listed individual signors as the
17    principal owners of the companies. At least thirteen individuals who are California
18    residents (some of whom were relatives or neighbors of an Apex Capital Group
19    employee) were used by the Individual Defendants as signors on these merchant
20    applications. The signors received a monthly “commission” payment of
21    approximately $1,000 from the Apex Citi Account. Other than acting as signors on
22    the merchant applications, these individuals did not engage in any business
23    functions on behalf of the Wyoming Companies.
24          35.     From early 2014 through at least mid-2015, the Individual Defendants
25    used merchant accounts in the names of certain of the Wyoming Companies to
26    process consumers’ payments for purported weight-loss and skin care products
27    under brand names such as Authentic Yacon, Original Garcinia, Dermanique,
28    Lumera, Juveliere, and Rejuvius.

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 1          36.    By the middle of 2015, the Individual Defendants had begun to use
 2    merchant accounts in the names of certain of the Wyoming Companies to process
 3    consumer payments for online sales of purported sexual performance, muscle-
 4    building, hair-growth, and cognitive enhancement products under brand names
 5    such as Evermax, Celexas, Virility X3, TestoXR, Follicure, and NeuroXR.
 6          37.    The funds from sales processed through certain of the Wyoming
 7    Companies’ merchant accounts were deposited into bank accounts in the names of
 8    those companies and then transferred, either directly or through intermediary
 9    accounts, to the Apex Citi Account.
10          38.    Beginning in July 2014, the Individual Defendants also formed, or
11    caused to be formed, at least 37 limited companies in the United Kingdom,
12    including the UK Corporate Defendants (altogether, the “UK Companies”). These
13    companies were formed to obtain merchant accounts offshore in order to debit U.S.
14    consumers’ credit cards and financial accounts held in the U.S. and to process
15    payments made by U.S. consumers for products marketed and sold by the Apex
16    Operation. The UK Companies are listed in Exhibit B to this Complaint.
17          39.    In many instances, the individuals named as directors of the UK
18    Companies are the same California residents used as signors on merchant account
19    applications submitted in the name of the Wyoming Companies.
20          40.    Apex Capital Group and the Individual Defendants used the UK
21    Corporate Defendants to open at least thirty merchant accounts at a Latvian bank.
22    These merchant accounts were used to process payments from U.S. consumers’
23    credit cards and financial accounts related to their purchases of Defendants’
24    products, including Biogenic XR, Evermax, and Virility X3.
25          41.    From May 2015 through 2017, offshore bank accounts associated with
26    the UK Corporate Defendants and Omni Group Limited transferred approximately
27    twelve million dollars to Apex Capital Group.
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 1          B.     The Apex Operation’s Deceptive Trial Offers
 2          42.    Defendants have registered more than one thousand websites, many of
 3    which they use or have used to market and sell their products. The websites’
 4    addresses have both US and UK domains (i.e. .com and .co.uk), including for
 5    instance trybiogenic.com, eliteprosup.com, follicurehair.com, tryneuroxr.com,
 6    healthshop1.com, tryevermax.com, virilitydirect.com, bestcelex.co.uk,
 7    biogenicxricltd.co.uk, and interzoom.co.uk.
 8          43.    Many of these websites purport to offer “free” or “risk free” trials of
 9    the products that include a negative option feature that is either not disclosed or is
10    poorly disclosed in a manner that is neither clear nor conspicuous. Consumers,
11    without their informed consent, are then charged for products that are shipped to
12    them each month until they take action to cancel and, sometimes, even after
13    cancelling. These websites include: biogenicxr.com, celexas.com,
14    tryevermax.com, and tryneuroxr.com.
15          44.    Defendants obtain consumers’ credit or debit card information by
16    enticing them to sign up for supposedly “free” or “risk-free” trials of the products
17    with the only charge being a shipping and handling fee (typically $4.95). At the
18    initial time of purchase, the consumer is charged $4.95, and she is shipped a full
19    month’s supply of the product. Approximately two weeks later, if the consumer
20    has not affirmatively cancelled her order and returned the product, her credit or
21    debit card is charged the full price of the product (typically about $90). Each
22    month thereafter, the consumer is shipped a month’s supply of the product, and is
23    charged about $90, until she calls to cancel. Cancellation, as described below, is a
24    difficult and time-consuming process. Some consumers continue to be charged
25    even after they cancel.
26          45.    Defendants market the products online through a variety of means,
27    including advertisements hosted on third-party websites, purported Internet surveys
28    and contests, social media advertisements, email, and search engine

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 1    advertisements, such as Google Ads. In numerous instances, these advertisements
 2    claim to offer a “FREE BOTTLE” or a “RISK FREE” TRIAL and promise
 3    “SATISFACTION GUARANTEED 100%.”
 4          46.    For example, the following advertisement for Defendants’ purported
 5    memory-boosting product, NeuroXR, promises consumers a “free one month
 6    supply of NeuroXR” if they click on the prominent link to “GET YOUR FREE
 7    BOTTLE.”
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17          47.    Numerous advertisements promoting trial offers of the products fail to
18    explain the material terms and conditions of the purchase, including that
19    consumers will be charged for the full cost of the products if they do not cancel
20    their orders within a short period of time. Similarly, numerous advertisements do
21    not explain that consumers will be enrolled automatically in autoship programs,
22    whereby the consumers will continue to receive, and be billed for, additional
23    supplies of the products on a monthly basis. On the contrary, advertisements for
24    Defendants’ products claim that they are “free” or “risk free.”
25          C.     The Apex Operations’ Trial Offers Ordering Process
26          48.    After consumers click on links in advertisements for Defendants’
27    products, they are transferred to webpages on Defendants’ websites called “landing
28    pages.” Landing pages typically include windows for consumers to enter their

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 1    contact information. Once consumers enter their contact information, they are
 2    transferred to other webpages called “order pages,” where they are directed to enter
 3    their payment information.
 4          49.    Numerous landing pages contain claims similar to those made in the
 5    advertisements. For example, a landing page for a sexual performance product
 6    called Biogenic XR included misrepresentations that the trial would be “free” for
 7    consumers:
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17          50.    These landing pages do not typically include clear or conspicuous
18    disclosures explaining the terms of the trial offer. For example, a landing page on
19    Defendants’ website for NeuroXR does not include any visible disclosures about
20    the terms and conditions of the trial offer, such as (1) that consumers would be
21    charged the full cost of the product if they did not cancel the trial offer within a
22    short period of time; (2) that consumers would be enrolled automatically in
23    autoship programs, pursuant to which Defendants would send them additional
24    products each month and would charge them accordingly until they took steps to
25    cancel the autoship program; or (3) that the trial offer included onerous
26    cancellation and refund policies. Instead, on this landing page, the consumer
27    enters only his or her contact information and then, after making the determination
28    that he or she would like to receive the trial offer, clicks a button that says, “RUSH

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 1    MY TRIAL.” Only if the consumer scrolls down several page lengths to the
 2    bottom of the landing page will she come across a “Terms & Conditions” link,
 3    appearing in very small font. Only by clicking on that remote link may consumers
 4    view information regarding their enrollment in continuity programs with recurring
 5    charges.
 6          51.    Numerous order pages where consumers enter their payment
 7    information either (i) contain inadequate disclosures of the terms of the trial offer
 8    that are not clear or conspicuous; or (ii) lack disclosures of the terms of the trial
 9    offer entirely. For example, after clicking the “RUSH MY TRIAL” button on the
10    NeuroXR landing page, consumers are directed to an order page on the NeuroXR
11    website where they are required to enter their billing information. On this order
12    page, there are no visible disclosures regarding the terms of the trial offer. Again,
13    only by clicking on the “Terms” link could consumers learn about the short trial
14    period, the fact that they will be charged the full cost of the product at the end of
15    the trial period, and that if they order the trial they will be enrolled in an autoship
16    program with recurring shipments and recurring charges. The terms link is in
17    small print toward the bottom of the webpage, away from the “COMPLETE
18    CHECKOUT” button, and overshadowed by larger text and graphics on the page:
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17          52.    Where order pages for Defendants’ products do contain disclosures
18    regarding the terms of the trial offer on the page itself, those disclosures typically
19    are not clear or conspicuous. For example, one order page for Biogenic XR
20    contains a disclosure near the middle of the page regarding enrollment in the
21    autoship program. The disclosure appears in small type and in light-gray font
22    against a white background. This disclosure is overshadowed by the prominent,
23    bold “FREE TRIAL” language that is higher up on the webpage.
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22          D.     The Apex Operation’s Offers for Upsell or Add-On Products
23          53.    After consumers enter their credit or debit card information and
24    submit their orders to purchase trials of Defendants’ products, they are often
25    directed to webpages that invite them to sign up for a second trial of other,
26    allegedly related products, i.e. upsell or add-on products.
27          54.    For example, Plaintiff purchased online several of Defendants’
28    products in the course of its investigation. After submitting payment information

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 1    to purchase a trial of one such product called NeuroXR, and clicking the
 2    “COMPLETE CHECKOUT” button, a pop-up offer for a different product called
 3    NeuroXR Sleep appeared on the screen. The pop-up contained what appeared to
 4    be an advertisement with a perforated border in the style of a cut-out coupon;
 5    inside the coupon the advertisement stated, “ADD AN ADDITIONAL TRIAL AT
 6    ONLY $4.97.” Underneath and outside of that box was a separate button stating
 7    “COMPLETE CHECKOUT.” Below the “COMPLETE CHECKOUT” button, in
 8    small, faint print, Defendants included a hyperlink that consumers could click to
 9    decline the second offer.
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22          55.    The format of the website suggested that the “COMPLETE
23    CHECKOUT” button was the final step in completing the purchase of the original
24    NeuroXR trial. In fact, Plaintiff’s order was already complete after entering credit
25    card information on the previous screen. Plaintiff was enrolled in a second trial
26    program in which Plaintiff was shipped a second product, NeuroXR Sleep, and
27    was charged $4.95 twice.
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 1          56.    Numerous consumers who inadvertently purchase an upsell product
 2    are charged $4.95 for each purported trial, and then about two weeks later are
 3    charged the full price of both products. Numerous consumers are enrolled in
 4    autoship programs for both products, continuing to receive shipments of both
 5    products each month until they take affirmative steps to cancel.
 6          57.    After consumers place orders for Defendants’ products, some receive
 7    no confirmation email whatsoever; others receive a confirmation email that lists
 8    only the $4.95 shipping and handling charge. The confirmation email thus
 9    reinforces the false impression from the websites that, other than the obligation to
10    pay shipping and handling, the trial product is free.
11          E.     The Apex Operation’s Onerous Cancellation and Refund Practices
12          58.    In numerous instances, consumers who order trials of Defendants’
13    products report that Defendants charge them without their knowledge or consent
14    for the full price of these products and sign them up for continuity programs.
15    Many consumers then attempt to cancel their enrollment in the continuity programs
16    and to obtain refunds of Defendants’ unauthorized charges, but they often have
17    difficulty cancelling and obtaining refunds.
18          59.    Numerous consumers who call Defendants to cancel have a difficult
19    time reaching customer service representatives, despite calling several times.
20    Some consumers are placed on hold for more than an hour. Other consumers
21    report that they were given incorrect customer service numbers. Even if they were
22    able to reach a customer service representative to request cancellation, numerous
23    consumers report that they continued to receive and to be charged for shipments of
24    Defendants’ products.
25          60.    Consumers also encounter a range of difficulties when they attempt to
26    obtain refunds from Defendants for the unauthorized charges. Some consumers
27    who request refunds are told that they cannot get refunds because the requests were
28    untimely; customer service representatives report that the products’ terms and

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 1    conditions require refund requests to be made within 30 days of ordering. Where
 2    the refund period has not lapsed, some consumers are told they can only get a
 3    refund if the trial product is returned unopened and at the consumer’s expense.
 4    Some consumers who have attempted to return products are nonetheless told that
 5    they will not be refunded because the company allegedly never received the
 6    products. In numerous instances, moreover, consumers are provided with a return
 7    address that is not the company’s true address.
 8          61.    Consumers often attempt to get their money back by initiating
 9    “chargebacks” with their credit card companies. Many consumers ultimately
10    cancel their credit or debit cards to ensure they will not be subjected to additional
11    unauthorized charges.
12    II.   The Apex Operation’s Credit Card Laundering Activities
13          A.     Background on Merchant Accounts and Credit Card Laundering
14          62.    In order to accept credit card payments from consumers, a merchant
15    must establish a merchant account with a merchant acquiring bank or “acquirer.”
16    A merchant account is a type of account that allows businesses to process
17    consumer purchases by credit or debit cards.
18          63.    Acquirers enter into contracts with entities known as payment
19    processors that manage the bank’s merchant processing program. Payment
20    processors in turn frequently enter contracts with multiple “independent sales
21    organizations” (“ISOs”) to sign up merchants for merchant accounts with the
22    acquirer.
23          64.    The acquirer has access to the credit card associations (“card
24    networks”), such as MasterCard and VISA. The card networks require all
25    participants in their networks, including the acquirers and their registered ISOs, to
26    comply with detailed rules governing the use of the card networks. These rules
27    include screening processes and underwriting standards for merchants, to ensure
28    that they are legitimate, bona fide businesses, and to screen out merchants engaged

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 1    in potentially fraudulent or illegal practices. The rules also prohibit credit card
 2    laundering, which is the practice of processing credit card transactions through
 3    another company’s merchant account.
 4          65.    Merchants that pose a heightened risk of fraud to the card networks
 5    may be subject to closer scrutiny or may be denied merchant accounts. For
 6    example, the ISO or acquirer may be concerned that the merchant is engaged in
 7    illegal activity or will generate excessive rates of transactions returned by
 8    consumers (“chargebacks”).
 9          66.    Consumers initiate “chargebacks” when they dispute credit card
10    charges by contacting their “issuing bank,” which is the bank that issued the credit
11    card to the consumer. When a consumer successfully disputes the charge, the
12    consumer’s issuing bank credits the consumer’s credit card for the disputed
13    amount, and then recovers the chargeback amount from the acquirer (the
14    merchant’s bank). The acquirer, in turn, collects the chargeback amount from the
15    merchant.
16          67.    In order to detect and prevent illegal, fraudulent, or unauthorized
17    merchant activity, the card networks operate various chargeback monitoring and
18    fraud monitoring programs. For example, if a merchant generates excessive levels
19    of chargebacks that exceed the thresholds set under VISA’s chargeback monitoring
20    program, the merchant is subject to additional monitoring requirements and, in
21    some cases, penalties and termination.
22          68.    Credit card laundering is commonly used by fraudulent merchants
23    who cannot meet a bank’s underwriting criteria or who cannot obtain merchant
24    accounts under their own names (whether because of excessive chargebacks,
25    complaints, or other signs of illegal activity).
26          69.    Even when fraudulent merchants can qualify for a merchant account,
27    they may engage in laundering as a way to conceal their true identity from
28    consumers, the card networks, and law enforcement agencies.

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 1          70.    To conceal their identities, fraudulent merchants may create shell
 2    companies to act as fronts, and apply for merchant accounts under these shell
 3    companies. Once the merchant accounts are approved, the fraudulent merchant
 4    then launders its own transactions through the shell company’s merchant accounts.
 5          71.    Fraudulent merchants may create multiple merchant accounts in order
 6    to maintain continued access to the card networks in the event any of the
 7    merchant’s accounts are terminated.
 8          B.     Apex Capital Group and the Individual Defendants Caused the
 9          Laundering of Transactions Through Numerous Shell Companies’ Merchant
10          Accounts
11          72.    Apex Capital Group and the Individual Defendants engaged in a
12    scheme to apply for a large number of merchant accounts in the name of shell
13    companies, including the UK Corporate Defendants, through which they could
14    launder charges to consumers’ credit or debit card accounts.
15          73.    As part of this scheme, Apex Capital Group and the Individual
16    Defendants created or caused to be created numerous shell companies, including
17    Omni Group Limited and the UK Corporate Defendants. The purported directors
18    of the UK Corporate Defendants are all straw owners who reside in the U.S.; the
19    UK Corporate Defendants are in fact controlled by Peikos through Omni Group
20    Limited. Omni Group Limited and the UK Corporate Defendants participated in
21    the scheme by allowing charges to be laundered through merchant accounts opened
22    in the names of the UK Corporate Defendants.
23          74.    During the period of May 2014 through July 2017, Apex Capital
24    Group and the Individual Defendants, directly or through agents acting on their
25    behalf and for their benefit, submitted dozens of deceptive merchant applications
26    in the name of at least thirteen domestic shell companies to multiple ISOs for their
27    underwriting approval.
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 1          75.    The thirteen companies include: Apres Vous Media LLC; Based
 2    Capital, LLC; Cascade Canyon, LLC; Confidential Holdings, LLC; Cornice
 3    Group, LLC; Horizon Media, LLC; Interzoom, LLC; Mountain Range Solutions,
 4    LLC; Old West Equity, LLC; Singletrack Solutions, LLC; Sky Media Group, LLC;
 5    Teton Pass, LLC; and Wyoming Freedom Group, LLC. The applications listed at
 6    least ten nominees as the purported principal owners of these shell companies.
 7          76.    When applying for a merchant account, merchants often submit with
 8    the applications copies of voided checks drawn on their business bank accounts,
 9    with the understanding that credit card sales revenues will be transferred into these
10    accounts.
11          77.    At least ten merchant applications submitted in the name of domestic
12    shell companies included checks that reflected the existence of business bank
13    accounts in the name of the shell companies. Each check had been altered to
14    include the straw owner’s name, even though none of the straw owners were
15    signatories of any of the accounts. Indeed, for multiple merchant account
16    applications, Defendants attached or caused to be attached the same check number
17    for the same bank account with different names on it.
18          78.    For example, the following check was submitted as part of an
19    application to open a merchant account for a product called Optimal Pet:
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26    While the name of straw owner Graciela Vasquez is listed on the check, a copy of
27    a check with the same checking account and the same check number was submitted
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 1    as part of a different merchant account application, for a product called Ultra, with
 2    a different straw owner, Juliana Pineda, listed on the check:
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 9          79.    The two copies of checks attached to the merchant account
10    applications were doctored. Neither Ms. Vasquez nor Ms. Pineda were signatories
11    on the Wells Fargo account ending x1101. In fact, Defendant Peikos is a signatory
12    on that account.
13          80.    Multiple ISOs approved the merchant account applications, set up
14    merchant accounts for each of the thirteen shell companies, and began processing
15    payments through acquiring banks. When payments for Defendants’ products
16    were processed through the merchant accounts that Defendants secured in the
17    names of the shell companies, the sales revenues were automatically transferred
18    into the shell companies’ Wells Fargo bank accounts. From there, the shell
19    companies transferred consumers’ money, directly or through intermediary
20    accounts, into the Apex Citi Account.
21          81.    Defendants secured more than forty merchant accounts based on these
22    false merchant applications; nearly all of them were subsequently closed.
23    Numerous merchant accounts were closed due to excessive chargeback levels.
24                              VIOLATIONS OF THE FTC ACT
25          82.    Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or
26    deceptive acts or practices in or affecting commerce.”
27          83.    Misrepresentations or deceptive omissions of material fact constitute
28    deceptive acts or practices prohibited by Section 5(a) of the FTC Act.

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 1          84.    Acts or practices are unfair under Section 5 of the FTC Act if they
 2    cause or are likely to cause substantial injury to consumers that consumers cannot
 3    reasonably avoid themselves and that is not outweighed by countervailing benefits
 4    to consumers or competition. 15 U.S.C. § 45(n).
 5                                             COUNT I
 6                       Misrepresentations of the Price of the Trial Offers
 7          85.    In numerous instances, in connection with the advertising, marketing,
 8    promotion, offering for sale, or sale of products, Defendants have represented,
 9    directly or indirectly, expressly or by implication, that Defendants will charge
10    consumers at most only a shipping and handling fee for a one-time shipment of
11    Defendants’ product.
12          86.    In truth and in fact, in numerous instances in which Defendants have
13    made the representation set forth in Paragraph 85 of this Complaint, Defendants
14    have charged consumers more than a shipping and handling fee for one or more
15    shipments of Defendants’ product.
16          87.    Therefore, Defendants’ representation described in Paragraph 85 of
17    this Complaint is false and misleading, and constitutes a deceptive act or practice
18    in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
19                                         COUNT II
20                      Misrepresentation that Order is Not Complete
21          88.    In numerous instances, in connection with the advertising, marketing,
22    promotion, offering for sale, or sale of personal care products to consumers who
23    have already ordered a trial of one of Defendants’ products, Defendants have
24    represented, directly or indirectly, expressly or by implication, that consumers’
25    initial orders are not complete and that clicking the “COMPLETE CHECKOUT”
26    or similar button will merely complete their initial orders.
27          89.    In truth and in fact, in numerous instances in which Defendants have
28    made the representation set forth in Paragraph 88 of this Complaint, consumers’

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 1    initial orders were complete, and clicking the “COMPLETE CHECKOUT” or
 2    similar button ordered an additional product and enrolled consumers in a continuity
 3    plan for that product.
 4            90.     Therefore, Defendants’ representation described in Paragraph 88 of
 5    this Complaint is false and misleading, and constitutes a deceptive act or practice
 6    in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
 7                                           COUNT III
 8                  Failure to Disclose Adequately Material Terms of Trial Offer
 9            91.     In numerous instances, in connection with the advertising, marketing,
10    promotion, offering for sale, or sale of personal care products, Defendants have
11    represented, directly or indirectly, expressly or by implication, that consumers can
12    obtain a trial of Defendants’ product for the cost of shipping and handling, or for
13    free.
14            92.     In numerous instances in which Defendants have made the
15    representation set forth in Paragraph 91 of this Complaint, Defendants have failed
16    to disclose, or disclose adequately to consumers, material terms and conditions of
17    their offer, including:
18            (a)     The total cost of the product;
19            (b)     That Defendants will charge consumers the total cost of the product
20    upon the expiration of the trial period, typically 14 days;
21            (c)     That Defendants will automatically enroll consumers in a continuity
22    plan with additional charges;
23            (d)     The cost of the continuity plan, and the frequency and duration of the
24    recurring charges; and
25            (e)     The terms of Defendants’ refund policies.
26            93.     Defendants’ failure to disclose, or disclose adequately, the material
27    information described in Paragraph 92, above, in light of the representation
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 1    described in Paragraph 91, above, constitutes a deceptive act or practice in
 2    violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
 3                                         COUNT IV
 4                  Unfairly Charging Consumers Without Authorization
 5          94.     In numerous instances, Defendants have charged consumers without
 6    their express informed consent.
 7          95.    Defendants’ actions cause or are likely to cause substantial injury to
 8    consumers that consumers cannot reasonably avoid themselves and that is not
 9    outweighed by countervailing benefits to consumers or competition.
10          96.    Therefore, Defendants’ practices as described in Paragraph 94, above,
11    constitute unfair acts or practices in violation of Section 5 of the FTC Act, 15
12    U.S.C. §§ 45(a) and 45(n).
13                                         COUNT V
14         Unfairly Injuring Consumers by Engaging in Credit Card Laundering
15          97.    In numerous instances, in connection with submitting applications to
16    open merchant accounts to further Defendants’ online subscription scam,
17    Defendants have engaged in credit card laundering by:
18          (a)    Falsely representing, directly or through agents acting on their behalf
19    and for their benefit, that the shell companies listed as the applicants on the
20    merchant applications were the true merchants who were applying for merchant
21    accounts; and/or
22          (b)    Falsely representing, directly or through agents acting on their behalf
23    and for their benefit, that the individual signors listed as the principal owners on
24    the merchant applications were the bona fide principal owners applying for
25    merchant accounts.
26          98.    The Defendants’ actions caused or were likely to cause substantial
27    injury to consumers that was not reasonably avoidably by consumers themselves
28    and that is not outweighed by countervailing benefits to consumers or competition.

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 1          99.    Therefore, the Defendants’ acts or practices, as described in Paragraph
 2    97 above, constitute unfair acts or practices in violation of Section 5 of the FTC
 3    Act §§ 45(a) and (n).
 4           VIOLATIONS OF THE RESTORE ONLINE SHOPPERS’ CONFIDENCE ACT
 5          100. In 2010, Congress passed the Restore Online Shoppers’ Confidence
 6    Act, 15 U.S.C. §§ 8401-05, which became effective on December 29, 2010.
 7    Congress passed ROSCA because “[c]onsumer confidence is essential to the
 8    growth of online commerce. To continue its development as a marketplace, the
 9    Internet must provide consumers with clear, accurate information and give sellers
10    an opportunity to fairly compete with one another for consumers’ business.”
11    Section 2 of ROSCA, 15 U.S.C. § 8401.
12          101. Section 4 of ROSCA, 15 U.S.C. § 8403, generally prohibits charging
13    consumers for goods or services sold in transactions effected on the Internet
14    through a negative option feature, as that term is defined in the Commission’s
15    Telemarketing Sales Rule (“TSR”), 16 C.F.R. § 310.2(w), unless the seller: (a)
16    clearly and conspicuously discloses all material terms of the transaction before
17    obtaining the consumer’s billing information; (b) obtains the consumer’s express
18    informed consent before making the charge; and (c) provides a simple mechanism
19    to stop recurring charges. See 15 U.S.C. § 8403.
20          102. The TSR defines a negative option feature as: “in an offer or
21    agreement to sell or provide any goods or services, a provision under which the
22    consumer’s silence or failure to take an affirmative action to reject goods or
23    services or to cancel the agreement is interpreted by the seller as acceptance of the
24    offer.” 16 C.F.R. § 310.2(w).
25          103. As described above, Defendants advertise and sell Defendants’
26    personal care products to consumers through a negative option feature as defined
27    by the TSR. See 16 C.F.R. § 310.2(w).
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 1          104. Under Section 5 of ROSCA, 15 U.S.C. § 8404, a violation of ROSCA
 2    is a violation of a rule promulgated under Section 18 of the FTC Act, 15 U.S.C.
 3    § 57a, and therefore constitutes an unfair or deceptive act or practice in or affecting
 4    commerce in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
 5                                         COUNT VI
 6                  Violation of ROSCA – Auto-Renewal Continuity Plan
 7          105. In numerous instances, in connection with the selling of their products
 8    on the Internet through a negative option feature, Defendants have failed to:
 9              a. clearly and conspicuously disclose all material terms of the negative
10                 option feature of the product transaction before obtaining the
11                 consumer’s billing information;
12              b. obtain the consumer’s express informed consent to the negative option
13                 feature before charging the consumer’s credit card, debit card, bank
14                 account, or other financial account for the transaction; and/or
15              c. provide simple mechanisms for a consumer to stop recurring charges
16                 for products to the consumer’s credit card, debit card, bank account,
17                 or other financial account.
18          106. Defendants’ practices as set forth in Paragraph 105 are a violation of
19    Section 4 of ROSCA, 15 U.S.C. § 8403, and are therefore a violation of a rule
20    promulgated under Section 18 of the FTC Act, 15 U.S.C. § 57a, 15 U.S.C.
21    § 8404(a), and therefore constitute an unfair or deceptive act or practice in or
22    affecting commerce in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
23           VIOLATIONS OF THE ELECTRONIC FUND TRANSFER ACT AND REGULATION E
24          107. Section 907(a) of the EFTA, 15 U.S.C. § 1693e(a), provides that a
25    “preauthorized” electronic fund transfer from a consumer’s account may be
26    “authorized by the consumer only in writing, and a copy of such authorization shall
27    be provided to the consumer when made.”
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 1          108. Section 903(10) of the EFTA, 15 U.S.C. § 1693a(10), provides that
 2    the term “preauthorized electronic fund transfer” means “an electronic fund
 3    transfer authorized in advance to recur at substantially regular intervals.” Section
 4    1005.10(b) of Regulation E, 12 C.F.R. § 1005.10(b) provides that “[p]reauthorized
 5    electronic fund transfers from a consumer’s account may be authorized only by a
 6    writing signed or similarly authenticated by the consumer. The person that obtains
 7    the authorization shall provide a copy to the consumer.”
 8          109. Section 1005.10 of the Consumer Financial Protection Bureau’s
 9    Official Staff Commentary to Regulation E, 12 C.F.R. § 1005.10(b), cmt. 5, Supp.
10    I, provides that “[t]he authorization process should evidence the consumer’s
11    identity and assent to the authorization.” The Official Staff Commentary to
12    Regulation E further provides that “[a]n authorization is valid if it is readily
13    identifiable as such and the terms of the preauthorized transfer are clear and readily
14    understandable.” 12 C.F.R. § 1005.10(b), cmt. 6, Supp. I.
15                                         COUNT VII
16                    Unauthorized Debiting from Consumers’ Accounts
17          110. In numerous instances, Defendants debit consumers’ bank accounts
18    on a recurring basis without obtaining a written authorization signed or similarly
19    authenticated from consumers for preauthorized electronic fund transfers from
20    their accounts, thereby violating Section 907(a) of the EFTA, 15 U.S.C.
21    § 1693e(a), and Section 1005.10(b) of Regulation E, 12 C.F.R. § 1005.10(b).
22          111. Further, in numerous instances, Defendants debit consumers’ bank
23    accounts on a recurring basis without providing a copy of a written authorization
24    signed or similarly authenticated by the consumer for preauthorized electronic fund
25    transfers from the consumer’s account, thereby violating Section 907(a) of the
26    EFTA, 15 U.S.C. § 1693e(a), and Section 1005.10(b) of Regulation E, 12 C.F.R.
27    § 1005.10(b).
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 1          112. Under Section 918(c) of the EFTA, 15 U.S.C. § 1693o(c), a violation
 2    of the EFTA and Regulation E constitutes a violation of the FTC Act.
 3          113. Accordingly, by engaging in violations of the EFTA and Regulation E
 4    as alleged in Paragraphs 110-111 of this Complaint, Defendants have engaged in
 5    violations of the FTC Act. 15 U.S.C. § 1693o(c).
 6                                  CONSUMER INJURY
 7          114. Consumers have suffered and will continue to suffer substantial injury
 8    as a result of Defendants’ violations of the FTC Act, ROSCA, and the EFTA. In
 9    addition, Defendants have been unjustly enriched as a result of their unlawful acts
10    or practices. Absent injunctive relief by this Court, Defendants are likely to
11    continue to injure consumers, reap unjust enrichment, and harm the public interest.
12                    THE COURT’S POWER TO GRANT RELIEF
13          115. Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court
14    to grant injunctive and such other relief as the Court may deem appropriate to halt
15    and redress violations of any provision of law enforced by the FTC. The Court, in
16    the exercise of its equitable jurisdiction, may award ancillary relief, including
17    rescission or reformation of contracts, restitution, the refund of monies paid, and
18    the disgorgement of ill-gotten monies, to prevent and remedy any violation of any
19    provision of law enforced by the FTC.
20          116. Section 19 of the FTC Act, 15 U.S.C. § 57b, Section 5 of ROSCA, 15
21    U.S.C. § 8404, and Section 917(c) of the EFTA, 15 U.S.C. § 1693o(c), authorize
22    this Court to grant such relief as the Court finds necessary to redress injury to
23    consumers resulting from Defendants’ violations of the FTC Act, ROSCA, and the
24    EFTA, including the rescission or reformation of contracts and the refund of
25    money.
26                                 PRAYER FOR RELIEF
27          117. Wherefore, Plaintiff FTC, pursuant to Sections 13(b) and 19 of the
28    FTC Act, 15 U.S.C. § 53(b) and 57b, Section 5 of ROSCA, 15 U.S.C. § 8404,

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                                         EXHIBIT A
 1
 2         COMPANY                        DATE OF         DATE OF
                                          ORGANIZATION    ARTICLES OF
 3                                                        DISSOLUTION
 4         Alpha Group LLC                4/30/2014       5/9/2015
           Apres Vous Media, LLC          9/9/2015
 5         Based Capital LLC              9/17/2013       5/9/2015
           Bold Media LLC                 3/7/2014        5/9/2015
 6         Capstone Capital, LLC          8/13/2013       7/29/2015
 7         Cascade Canyon LLC             8/6/2014
           Confidential Holdings, LLC     9/9/2015
 8         Cornice Group LLC              8/6/2014
           Crest Capital, LLC             8/13/2013       7/29/2015
 9
           Fortune Ventures LLC           9/17/2013       5/9/2015
10         Future Holdings LLC            9/17/2013       5/9/2015
           Grand Assets, LLC              9/17/2013       5/9/2015
11         Horizon Media, LLC             8/14/2015
12         Interzoom, LLC                 8/14/2015
           Lead Blast LLC                 9/17/2013       5/9/2015
13         Lion Capital LLC               4/28/2014       5/9/2015
           Macro Group LLC                4/28/2014       5/9/2015
14
           Mountain Range Ventures LLC    11/18/2014
15         Mountain Solutions, LLC        8/13/2013       5/9/2015
           Nutra First LLC                9/17/2013       5/9/2015
16         Nutra Global LLC               9/17/2013       5/9/2015
17         Old West Equity LLC            8/6/2014
           Omega Assets LLC               4/28/2014       5/9/2015
18         Rendezvous IT, LLC             12/30/2013      5/9/2015
           Shadow Peak, LLC               9/9/2015
19
           Singletrack Solutions LLC      11/18/2014
20         Sky Media Group, LLC           8/14/2015
           Teton Pass LLC                 11/18/2014
21         Virtual Media LLC              3/7/2014        5/9/2015
22         Wonder Leads LLC               9/17/2013       5/9/2015
           Wyoming Freedom Group LLC      11/18/2014
23         Zoom Media LLC                 4/28/2014       5/9/2015
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                                            EXHIBIT B
 1
 2         COMPANY                           DATE OF        DATE OF
                                             ORGANIZATION   DISSOLUTION
 3         Ace Media Group Ltd               8/14/2015
 4         Alpha Corporate Ventures Ltd      7/29/2014      3/8/2016
           Apres Vous Media Ltd              2/11/2016      7/18/2017
 5         Based Capital Ltd                 7/22/2014      1/19/2016
           Capstone Capital Solutions Ltd    2/9/2015
 6         Clik Trix Ltd                     8/14/2015
 7         Crest Capital Ventures Ltd        2/9/2015       7/26/2016
           Digital X Solutions Ltd           8/14/2015      9/26/2017
 8         Empire Partners Ltd               8/14/2015
           Energy Tomorrow Ltd               2/6/2015       7/19/2016
 9
           Exclusive Media Group Ltd         2/12/2016      7/18/2017
10         Fortune Ventures Ltd              7/22/2014      3/1/2016
           Future Hold Ventures Ltd          11/24/2014     5/10/2016
11         Future Precision Ltd              2/2/2017
12         G Force Max Ltd                   2/3/2017
           Grand Assets Ventures Ltd         11/24/2014     5/10/2016
13         Horizon Media Partners Ltd        8/14/2015
           Interzoom Capital Ltd             8/14/2015
14
           Lead Blast Ltd                    11/24/2014
15         Lion Capital Solutions Ltd        2/13/2015      7/26/2016
           Maverick Pro Ltd                  3/31/2017
16         Mountain Venture Solutions Ltd    2/9/2015
17         New Idea Group Ltd                7/28/2017
           Nutra First Ltd                   7/22/2014      1/2/2018
18         Nutra Global Ltd                  7/22/2014
           Omega Assets Ltd                  11/24/2014     5/10/2016
19
           Online Product Group Ltd          4/3/2017
20         Precision Tactic Group Ltd        2/3/2017
           Rendezvous IT Ltd                 2/9/2015
21         Sky Blue Media Ltd                8/14/2015
22         Snowdrift Solutions Ltd           3/9/2017
           Tactic Solutions Ltd              8/14/2015
23         Top Quality Group Ltd             7/27/2017
           Virtual Media Solutions Ltd       11/24/2014     5/10/2016
24
           Visitron Capital Ltd              8/14/2015      9/26/2017
25         Web Media Depot Ltd               8/14/2015      9/26/2017
           Zoom Media Ltd                    7/24/2014
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